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               Case 2:25-cv-02032-RPK         Document 3-1 Filed 04/22/25 Page 1 of 24 PageID #: 75


                                                                                                              APPEAL

                                               U.S. Bankruptcy Court
                                      Eastern District of New York (Central Islip)
                                       Adversary Proceeding #: 8-20-08049-ast

           Assigned to: Judge Alan S. Trust                                 Date Filed: 03/13/20
           Lead BK Case: 18-71748
           Lead BK Title: Orion Healthcorp, Inc. and Allied World
           National Assurance Co.
           Lead BK Chapter: 11
           Demand: $4020000
           Nature[s] of Suit: 12 Recovery of money/property - 547 preference
                              13 Recovery of money/property - 548 fraudulent transfer
                              14 Recovery of money/property - other


          Plaintiff
          -----------------------
          Howard M Ehrenberg, in his capacity as             represented by Jeffrey P Nolan
          Liquidating Trustee of Orion Healthcorp,                          Pachulski Stang Ziehl & Jones LLP
          Inc., et al                                                       780 Third Avenue
                                                                            34th Floor
                                                                            New York, NY 10017
                                                                            310-772-2313
                                                                            Fax : 310-201-0760
                                                                            Email: jnolan@pszjlaw.com

                                                                            Jeffrey Norlan
                                                                            Pachulski Stang Ziehl & Jones LLP
                                                                            780 Third Avenue
                                                                            34th Floor
                                                                            New York, NY 10017
                                                                            LEAD ATTORNEY

                                                                            Ilan D Scharf
                                                                            Pachulski Stang Ziehl & Jones LLP
                                                                            780 Third Avenue
                                                                            36th Floor
                                                                            New York, NY 10017
                                                                            (212) 561-7721
                                                                            Fax : (212) 561-7777
                                                                            Email: ischarf@pszjlaw.com
                                                                            LEAD ATTORNEY


          V.



1 of 24                                                                                                        4/22/2025, 9:15 AM
                      Case 8-20-08049-ast
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                 Case 2:25-cv-02032-RPK     Document 3-1 Filed 04/22/25 Page 2 of 24 PageID #: 76


          Defendant
          -----------------------
          Arvind Walia                                      represented by Paris Gyparakis
                                                                           Porzio, Bromberg & Newman, P.C.
                                                                           1675 Broadway, Ste 1810
                                                                           New York, NY 10019
                                                                           212-265-6888
                                                                           Fax : 212-957-3983
                                                                           Email: pgyparakis@pbnlaw.com

                                                                             Christine McCabe
                                                                             Christine McCabe
                                                                             4609 Bedford Blvd.
                                                                             Wilmington, DE 19803
                                                                             302-354-2166
                                                                             Email: cmccabe@rosenpc.com

                                                                             Sanford P Rosen
                                                                             Rosen & Associates, P.C.
                                                                             747 Third Avenue
                                                                             New York, NY 10017-2803
                                                                             (212) 223-1100
                                                                             Fax : (212) 223-1102
                                                                             Email: srosen@rosenpc.com

                                                                             Eugene Ronald Scheiman
                                                                             The Law Office of Eugene R. Scheiman
                                                                             17 State Street
                                                                             Ste Floor 40
                                                                             New York, NY 10004
                                                                             212-594-7563
                                                                             Email: eugene.scheiman@scheimanlaw.com


          Defendant
          -----------------------
          Niknim Management Inc.                            represented by Paris Gyparakis
                                                                           (See above for address)

                                                                             Sanford P Rosen
                                                                             (See above for address)

                                                                             Eugene Ronald Scheiman
                                                                             (See above for address)


              Filing Date           #                                         Docket Text

           03/13/2020                   1   Adversary case 8-20-08049. Complaint by Howard M. Ehrenberg in his capacity as
                                            Liquidating Trustee of Orion Healthcorp, Inc., et al against Arvind Walia, Niknim
                                            Management Inc.. Fee Amount $350. Nature(s) of Suit: (12 (Recovery of money/


2 of 24                                                                                                             4/22/2025, 9:15 AM
                      Case 8-20-08049-ast
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              Case 2:25-cv-02032-RPK        Document 3-1 Filed 04/22/25 Page 3 of 24 PageID #: 77
                                            property - 547 preference)), (13 (Recovery of money/property - 548 fraudulent
                                            transfer)), (14 (Recovery of money/property - other)). (Attachments: # 1 Exhibit A
                                            # 2 Exhibit B # 3 Adversary Cover Sheet) (Scharf, Ilan) (Entered: 03/13/2020)

                                            Receipt of Complaint(8-20-08049-ast) [cmp,cmp] ( 350.00) Filing Fee. Receipt
                                            number 19084631. Fee amount 350.00. (re: Doc# 1) (U.S. Treasury) (Entered:
          03/14/2020                        03/14/2020)

                                   2        Summons In An Adversary Proceeding Issued by Clerk's Office against Arvind
                                            Walia Answer Due: 4/15/2020; Niknim Management Inc. Answer Due: 4/15/2020
          03/16/2020                        (ssw) (Entered: 03/16/2020)

                                   3        Summons Served on Arvind Walia 3/16/2020; Niknim Management Inc. 3/16/2020
          04/30/2020                        . (Nolan, Jeffrey) (Entered: 04/30/2020)

                                   4        Notice of Proposed Stipulation By and Between Howard M. Ehrenberg in his
                                            capacity as liquidating trustee of Orion Healthcorp, Inc., et al. and Arvind Walia
                                            and Niknim Management, Inc. to Extend Time to Answer Complaint Filed by
                                            Arvind Walia, Niknim Management Inc.. (Attachments: # 1 Proposed Order)
          06/05/2020                        (Gyparakis, Paris) (Entered: 06/05/2020)

                                   5        Order Extending Time for Defendant Arvind Walia to File Answer. Answer Due
                                            6/17/2020; Niknim Management Inc. to File Answer. Answer Due 6/17/2020.
          06/11/2020                        Signed on 6/11/2020 (Attachments: # 1 Exhibit) (ssw) (Entered: 06/11/2020)

                                   6        Answer to Complaint Filed by Paris Gyparakis on behalf of Arvind Walia, Niknim
          06/17/2020                        Management Inc. (Gyparakis, Paris) (Entered: 06/17/2020)

                                   7        Initial Adversary Scheduling Order Parties are ordered to attend a conference under
                                            FRBP 7026f on or before August 21, 2020. Signed on 6/22/2020 Joint Discovery
                                            Control Plan due by 9/8/2020. Statement Pursuant to FRBP 7008a due by 9/8/2020.
                                            Pre-Trial Conference set for 9/21/2020 at 11:00 AM at Courtroom 960 (Judge
          06/22/2020                        Trust), CI, NY. (jaf) (Entered: 06/22/2020)

                                   8        BNC Certificate of Mailing with Application/Notice/Order Notice Date
          06/24/2020                        06/24/2020. (Admin.) (Entered: 06/25/2020)

                                   9        Affidavit/Certificate of Service Filed by Paris Gyparakis on behalf of Arvind
                                            Walia, Niknim Management Inc. (RE: related document(s)6 Answer to Complaint
                                            filed by Defendant Arvind Walia, Defendant Niknim Management Inc.)
          06/25/2020                        (Gyparakis, Paris) (Entered: 06/25/2020)

                                   10       Notice of Submission of Proposed Order Filed by Howard M Ehrenberg (related
          09/08/2020                        document(s)7). (Nolan, Jeffrey) (Entered: 09/08/2020)

                                   11       Letter Providing Notice of Court Hearing Filed by Mark T Power on behalf of
                                            Howard M Ehrenberg (RE: related document(s)7 Initial Adversary Scheduling
                                            Order (Judge Trust Cases Only)) Hearing scheduled for 10/15/2020 at 09:30 AM at
          09/16/2020                        Courtroom 960 (Judge Trust), CI, NY. (Power, Mark) (Entered: 09/16/2020)

                                            Adjourned Without Hearing Pre-Trial Conference set for 10/15/2020 at 09:30 AM
          09/21/2020                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 09/22/2020)




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Live Database: nyeb_live                    Doc 169-1 Filed 04/22/25      Entered 04/22/25 09:18:55
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                                   12       Statement / Agenda for October 15, 2020 Hearing Filed by Jeffrey P Nolan on
          10/13/2020                        behalf of Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 10/13/2020)

                                            Hearing Held and Adjourned; Appearance(s): Jeff Nolan; Pre-Trial Conference set
                                            for 01/21/2021 at 10:00 AM at Courtroom 960 (Judge Trust), CI, NY. (ymm)
          10/15/2020                        (Entered: 10/16/2020)

                                   13       Amended Order for Admission to Practice Pro Hac Vice. The admitted attorney,
                                            Jeffrey P. Nolan, is permitted to argue or try this particular case, as well as the
                                            related adversary proceedings listed on Schedule I attached to the Motion, in whole
                                            or in part as counsel. The admitted attorney may, enter appearances for parties, sign
                                            stipulations, receive payments upon judgments, decrees or orders, and otherwise
                                            serve as counsel in this case, as well as the related adversary proceedings listed on
                                            Schedule I attached to the Motion. Signed on 10/15/2020 (amp) see Amended
          10/15/2020                        Motion #857 and Order #870 on main case 18-71748-ast. (Entered: 10/16/2020)

                                   14       Order and Notice of Adjournment of the Pre-Trial Conference has been adjourned
                                            for January 21, 20201 at 10:00 a.m. ( prevaling Eastern time) . (RE: related
                                            document(s)1 Complaint filed by Plaintiff Howard M Ehrenberg, 7 Initial
                                            Adversary Scheduling Order (Judge Trust Cases Only)). Signed on
                                            10/23/2020Hearing scheduled for 1/21/2021 at 10:00 AM at Courtroom 960 (Judge
          10/23/2020                        Trust), CI, NY. (ssw) (Entered: 10/23/2020)

                                   15       BNC Certificate of Mailing with Application/Notice/Order Notice Date
          10/25/2020                        10/25/2020. (Admin.) (Entered: 10/26/2020)

                                            Hearing Held and Adjourned; Jeff Nolan and Sanford Rosen; Pre-Trial Conference
                                            set for 05/18/2021 at 02:00 PM at Courtroom 960 (Judge Trust), CI, NY. (ymm)
          01/21/2021                        (Entered: 01/21/2021)

                                   16       Letter of Adjournment: Hearing rescheduled from January 21, 2021 at 10:00 a.m.
                                            (ET) to May 18, 2021 at 2:00 p.m. (ET) Filed by Howard M Ehrenberg (related
          01/25/2021                        document(s)). (Nolan, Jeffrey) (Entered: 01/25/2021)

                                   17       Letter of Adjournment: Hearing rescheduled from May 18, 2021 at 2:00pm to May
                                            26, 2021 at 10:00am Filed by Howard M Ehrenberg (related document(s)16).
          04/22/2021                        (Nolan, Jeffrey) (Entered: 04/22/2021)

                                            Adjourned Without Hearing Pre-Trial Conference set for 05/26/2021 at 10:00 AM
                                            at Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s) 1 Complaint
          05/18/2021                        Filed by Plaintiff Howard M Ehrenberg) (ymm) (Entered: 05/18/2021)

                                   18       Notice of Proposed Stipulation By and Between Howard Ehrenberg, in his capacity
                                            as Liquidating Trustee of Orion Healthcare, Inc. and Arvind Walia and NIKNIM
                                            Management, Inc. to / RE FILING OF FIRST AMENDED COMPLAINT; AND
                                            ENTERING OF SCHEDULING ORDER Filed by Howard M Ehrenberg (related
          05/21/2021                        document(s)1). (Nolan, Jeffrey) (Entered: 05/21/2021)

                                   19       Notice of Proposed Stipulation By and Between Howard Ehrenberg, in his capacity
                                            as Liquidating Trustee of Orion Healthcare, Inc. and Arvind Walia and NIKNIM
                                            Management, Inc. to / AMENDED NOTICE OF PROPOSED STIPULATION RE
                                            FILING OF FIRST AMENDED COMPLAINT; AND ENTERING OF
                                            SCHEDULING ORDER Filed by Howard M Ehrenberg (related document(s)18,
          05/21/2021                        1). (Nolan, Jeffrey) (Entered: 05/21/2021)



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                                   20       Stipulation and Order by and between Plaintiff Howard M Ehrenberg and
                                            Defendants Arvind Walia and Niknim Management Inc. refiling of First Amended
                                            Complaint and entering of Scheduling Order (RE: related document(s)1 Complaint
                                            filed by Plaintiff Howard M Ehrenberg). Defendant has twenty days from service to
                                            file an answer to the First Amended Complaint. Initial disclosures pursuant to Fed.
                                            R. Civ. P. 26(a)(1) shall be completed no later than fourteen (14) days from the date
                                            of this Order. All fact discovery shall be completed no later than September 20,
                                            2021. All expert discovery shall be completed no later than November 30, 2021.
                                            and No later than September 30, 2021(i) the party bearing the burden of proof on
                                            any issue shall make all disclosures and (ii) all rebuttal or responsive expert reports
                                            and other disclosures shall be made no later than thirty (30) days thereafter. If the
                                            parties desire and agree to mediate their dispute(s) at any time during pendency of
                                            this adversary proceeding, they shall jointly file a stipulation (the Stipulation) with
                                            the Court. The Court will adjourn the Pre-trial Conference to August 5, 2021, at
                                            2:00 P.M. which time the Court may set the trial date and deadline to file the Joint
                                            Pretrial Order. This ORDER may not be modified or the dates herein extended,
                                            except by further Order of this Court for good cause shown. Any application to
                                            modify or extend anydeadline established by this Order shall be made in a written
                                            application no less than five (5) days prior to the expiration of the date sought to be
                                            extended. 19 Notice of Proposed Stipulation filed by Plaintiff Howard M
                                            Ehrenberg). Signed on 5/26/2021. Pre Trial Hearing scheduled for 8/5/2021 at
          05/26/2021                        02:00 PM at Courtroom 960 (Judge Trust), CI, NY. (ssw) (Entered: 05/26/2021)

                                   21       Incorrect event docketed ; Attorney to refile with correct event - Exhibit /
                                            (CORRECTED) First Amended Complaint For Avoidance and Recovery of: (1)
                                            Fraudulent Transfers;(2) Preferential Transfers; (3) Recovery of Avoided
                                            Transfers; and (4) Objection to Claim No. 1067 Pursuant to 11 U.S.C. §§ 502, 544,
                                            547 548 and 550 Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE:
                                            related document(s)1 Complaint filed by Plaintiff Howard M Ehrenberg, 18 Notice
                                            of Proposed Stipulation filed by Plaintiff Howard M Ehrenberg, 19 Notice of
                                            Proposed Stipulation filed by Plaintiff Howard M Ehrenberg, 20 Order to Schedule
                                            Hearing (Generic)) (Nolan, Jeffrey) Modified on 5/27/2021 (ssw). (Entered:
          05/26/2021                        05/26/2021)

                                            Adjourned Without Hearing Pre-Trial Conference set for 08/05/2021 at 02:00 PM
          05/26/2021                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 05/27/2021)

                                   22       Amended Complaint Demand Amount by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg against Howard M Ehrenberg.(RE: related document(s)1 Complaint
                                            filed by Plaintiff Howard M Ehrenberg, 20 Order to Schedule Hearing (Generic))
          05/28/2021                        (Attachments: # 1 Adversary Cover Sheet) (Nolan, Jeffrey) (Entered: 05/28/2021)

                                   23       Answer to Complaint /Answer to First Amended Complaint and Affirmative
                                            Defenses Filed by Sanford P Rosen on behalf of Arvind Walia, Niknim
          06/09/2021                        Management Inc. (Rosen, Sanford) (Entered: 06/09/2021)

                                   24       Affidavit/Certificate of Service Filed by Paris Gyparakis on behalf of Arvind
                                            Walia, Niknim Management Inc. (RE: related document(s)23 Answer to Complaint
                                            filed by Defendant Arvind Walia, Defendant Niknim Management Inc.)
          06/10/2021                        (Gyparakis, Paris) (Entered: 06/10/2021)

                                   25       Statement / Agenda For August 5, 2021 Hearing Filed by Jeffrey P Nolan on behalf
          08/03/2021                        of Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 08/03/2021)




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                                            Adjourned Without Hearing Pre-Trial Conference set for 11/16/2021 at 02:00 PM
                                            at Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s) 7 Initial
                                            Adversary Scheduling Order (Judge Trust Cases Only)) (ymm) (Entered:
          08/05/2021                        08/05/2021)

                                   26       Notice of Proposed Stipulation By and Between Plaintiff Howard M. Ehrenberg, in
                                            his capacity of Liquidating Trustee of Orion Healthcorp, Inc., et al and Arvind
                                            Walia to Amend Case Management and Discovery Plan Filed by Howard M
          09/21/2021                        Ehrenberg (related document(s)20). (Nolan, Jeffrey) (Entered: 09/21/2021)

                                   27       Stipulation by and between Plaintiff and defendant Arvind Walia and Niknim
                                            Management Inc. Requesting Amendment to Case Management and Discovery
                                            Plann. All written and fact discovery between the Parties shall be completed no
                                            later thanDecember 30, 2021, and dates under the case management order
                                            continued from the new fact cut-off date accordingly. The Pretrial Conference is
                                            adjourned to January 26, 2022 at 2:00 p.m. (EST). Signed on 10/5/2021. (Entered:
          10/05/2021                        10/05/2021)

                                   28       Statement /Agenda For November 16, 2021 Hearing Filed by Jeffrey P Nolan on
          11/12/2021                        behalf of Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 11/12/2021)

                                            Adjourned Without Hearing Pre-Trial Conference set for 01/26/2022 at 02:00 PM
          11/16/2021                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 11/18/2021)

                                   29       Order Related to Use of the Zoom Virtual Platform for Hearing. A Hearing or
                                            Conference is set for January 26,2022 , commencing at 2 pm in Courtroom 960
                                            United States Bankruptcy Court, Central Islip, NY. As to any witness that is an
                                            agent or employee of any party, the party proffering such testimony must file and
                                            exchange an affidavit of direct testimony sworn or otherwise verified by the
                                            witness (not by the proffering attorney) by no later than January 19, 2022 at 4:00
                                            P.M. (Eastern). Hearing may be accessed as follows: https://www.zoomgov.com/
                                            j/1619682621?pwd=LzYvN3c4UmFacEdnK1F6WVlmTGpaUT09, Meeting ID:
                                            161 968 2621Passcode: 6277, One tap mobile,+16692545252,1619682621# US
                                            (San Jose).+16468287666,,1619682621# US (New York),Dial by your location+1
                                            669 254 5252 US (San Jose)+1 646 828 7666 US (New York)+1 669 216 1590 US
                                            (San Jose)+1 551 285 1373 US Meeting ID: 161 968 2621. (RE: related
                                            document(s)27 Scheduling Order). Signed on 12/22/2021 (ssw) (Entered:
          12/22/2021                        12/22/2021)

                                   30       BNC Certificate of Mailing with Application/Notice/Order Notice Date
          12/24/2021                        12/24/2021. (Admin.) (Entered: 12/25/2021)

                                   31       Notice of Proposed Stipulation By and Between Plaintiff, Howard Ehrenberg, in his
                                            capacity as Liquidating Trustee of Orion Healthcare, Inc. and Defendants Arvind
                                            Walia and Niknim Management, Inc. to / Stipulation to Attend Mediation and Toll
                                            Remaining Deadlines Filed by Howard M Ehrenberg. (Nolan, Jeffrey) (Entered:
          01/25/2022                        01/25/2022)

                                   32       Statement / Agenda for January 26, 2022 Hearing Filed by Jeffrey P Nolan on
          01/25/2022                        behalf of Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 01/25/2022)




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                      Case 8-20-08049-ast
Live Database: nyeb_live                    Doc 169-1 Filed 04/22/25      Entered 04/22/25 09:18:55
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                                            Hearing Held and Adjourned; Appearance(s) Jeff Nolan and Sanford Rosen. Pre-
                                            Trial Conference set for 05/11/2022 at 02:00 PM at Courtroom 960 (Judge Trust),
                                            CI, NY. LETTER OF ADJOURNMENT TO BE FILED (ymm) (Entered:
          01/26/2022                        01/27/2022)

                                   33       Letter of Adjournment: Hearing rescheduled from January 26, 2022 at 2:00 p.m. to
                                            May 11, 2022 at 2:00 p.m. Filed by Howard M Ehrenberg (related document(s), ).
          01/28/2022                        (Nolan, Jeffrey) (Entered: 01/28/2022)

                                   34       Stipulation and Order by and between Plaintiff and Defendant To Attend Mediation
                                            And Toll Remaining Deadlines. The Parties desire to attend mediation within the
                                            next 30 days and to toll any remaining deadlines under the Scheduling Order and
                                            Amendment to Case Management and Discovery Plan until the conclusion of
                                            attending mediation. Pursuant to the Scheduling Order and Amendment to Case
                                            Management and Discovery Plan, the Parties may attend mediation at any time
                                            during the pendency of the adversary and shall jointly file a stipulation to attend
                                            mediation with the Court. The Parties have agreed to address the issues in this
                                            Adversary Proceeding to the Honorable Gerald Rosen, Ret. as the mediator, but
                                            have not yet determined his availability or cleared conflicts. To the extent he is not
                                            available, the Parties will move promptly to select another mediator. Mediation will
                                            be attended via zoom and the parties will split the fees and costs for mediation
                                            equally. The Parties will advise the Court within ten (10) days following
                                            competition, of the progress or outcome of the mediation. (RE: related
                                            document(s)31 Notice of Proposed Stipulation filed by Plaintiff Howard M
          03/07/2022                        Ehrenberg). Signed on 3/7/2022 (ssw). (Entered: 03/07/2022)

                                   35       Letter of Adjournment: Hearing rescheduled from May 11, 2022 at 2:00 p.m. to
                                            May 25, 2022 at 2:00 p.m. Filed by Howard M Ehrenberg (related document(s)33).
          03/22/2022                        (Nolan, Jeffrey) (Entered: 03/22/2022)

                                            Adjourned Without Hearing Pre-Trial Conference set for 05/25/2022 at 02:00 PM
          05/11/2022                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 05/11/2022)

                                            Hearing Held and Adjourned; Appearances: Sanford P Rosen, Jeffrey P Nolan. Pre-
                                            Trial Conference set for 09/14/2022 at 02:00 PM at Courtroom 960 (Judge Trust),
                                            CI, NY. LETTER OF ADJOURNMENT TO BE FILED (ymm) (Entered:
          05/25/2022                        05/25/2022)

                                   36       Letter of Adjournment: Hearing rescheduled from May 25, 2022 at 2:00 p.m. to
                                            September 14, 2022 at 2:00 p.m. Filed by Howard M Ehrenberg (related
          05/26/2022                        document(s)). (Nolan, Jeffrey) (Entered: 05/26/2022)

                                   37       Letter to the Honorable Alan S. Trust Filed by Jeffrey P Nolan on behalf of Howard
          07/15/2022                        M Ehrenberg (Nolan, Jeffrey) (Entered: 07/15/2022)

                                   38       Declaration Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE:
                                            related document(s)20 Order to Schedule Hearing (Generic), 31 Notice of Proposed
                                            Stipulation filed by Plaintiff Howard M Ehrenberg, 34 Stipulation and Order)
                                            (Attachments: # 1 Exhibit A - Stipulation and Scheduling Order # 2 Exhibit B -
          07/29/2022                        Stipulation to Attend Mediation) (Nolan, Jeffrey) (Entered: 07/29/2022)

                                   39       Notice of Submission of Proposed Order To Complete Expert Discovery Filed by
                                            Howard M Ehrenberg (related document(s)38). (Nolan, Jeffrey) Modified on
          07/29/2022                        8/1/2022 (ssw). (Entered: 07/29/2022)



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              Case 2:25-cv-02032-RPK        Document 3-1 Filed 04/22/25 Page 8 of 24 PageID #: 82

                                   40       Declaration of Sanford P. Rosen with Respect to the Status of the Litigation and the
                                            Filing of Plaintiffs Proposed Order to Complete Remaining Expert Discovery and
                                            in Response to the Declaration of Jeffrey P. Nolan Submitted in Support of the
                                            Order Filed by Sanford P Rosen on behalf of Arvind Walia (RE: related
                                            document(s)38 Declaration filed by Plaintiff Howard M Ehrenberg) (Rosen,
          08/01/2022                        Sanford) (Entered: 08/01/2022)

                                   41       Letter to the Honorable Alan S. Trust Filed by Jeffrey P Nolan on behalf of Howard
                                            M Ehrenberg (RE: related document(s)38 Declaration filed by Plaintiff Howard M
                                            Ehrenberg, 40 Response filed by Defendant Arvind Walia) (Nolan, Jeffrey)
          08/03/2022                        (Entered: 08/03/2022)

                                   42       Order Granting to complete expert discovery.Parties they were unable to
                                            successfully resolve the litigation at mediation, the tolling of remaining deadlines
                                            as outlined in the Stipulation To Attend Mediation and Toll Remaining Deadlines
                                            (Dkt No. 31) is hereby terminated and the deadlines setforth under the Case
                                            Management and Discovery Plan (Dkt No. 10) solely with respect to concluding
                                            remaining expert discovery. No later than thirty (30) days from the issuance of this
                                            Order, all rebuttalor responsive expert reports and other disclosures required under
                                            Fed. R. Civ. P. 26 (a)(2) shallbe made including the service of any expert report(s).
                                            All expert discovery shall be completed no later than sixty (60) days from the
                                            issuance of this Order. (RE: related document(s)10 and 39 Notice of Submission of
                                            Proposed Order filed by Plaintiff Howard M Ehrenberg). Signed on 8/15/2022
          08/15/2022                        (ssw) (Entered: 08/15/2022)

                                   43       BNC Certificate of Mailing with Application/Notice/Order Notice Date
          08/17/2022                        08/17/2022. (Admin.) (Entered: 08/18/2022)

                                   44       Letter of Adjournment: Hearing rescheduled from September 14, 2022 at 2:00 p.m.
                                            to October 19, 2022 at 10:00 a.m. Filed by Howard M Ehrenberg (related
          09/12/2022                        document(s)36). (Nolan, Jeffrey) (Entered: 09/12/2022)

                                            Adjourned Without Hearing Pre-Trial Conference set for 10/19/2022 at 10:00 AM
          09/14/2022                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 09/19/2022)

                                   45       Letter Requesting Pre-Motion Conference Filed by Jeffrey P Nolan on behalf of
          10/14/2022                        Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 10/14/2022)

                                            Hearing Held and Adjourned; Appearances: Sanford P Rosen, Jeffrey P Nolan,
                                            Eugene Scheiman. Pre-Trial Conference (control date) set for 01/11/2023 at 12:00
                                            PM at Courtroom 960 (Judge Trust), CI, NY. MOTION FOR SUMMARY
          10/19/2022                        JUDGMENT TO BE FILED W/IN 90 DAYS (ymm) (Entered: 10/24/2022)

                                   46       Notice of Appearance and Request for Notice Filed by Eugene Ronald Scheiman
          11/13/2022                        on behalf of Arvind Walia (Scheiman, Eugene) (Entered: 11/13/2022)

                                   47       Notice of Appearance and Request for Notice Filed by Eugene Ronald Scheiman
          11/14/2022                        on behalf of Niknim Management Inc. (Scheiman, Eugene) (Entered: 11/14/2022)

                                   48       Notice of Proposed Stipulation By and Between Plaintiff, Howard Ehrenberg, in his
                                            capacity as Liquidating Trustee of Orion Healthcare, Inc. and Defendants Arvind
                                            Walia and Niknim Management, Inc. to Briefing Schedule For Summary Judgment
                                            Motions Filed by Howard M Ehrenberg (related document(s)). (Nolan, Jeffrey)
          11/15/2022                        (Entered: 11/15/2022)



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                                                             https://nyeb-ecf.sso.dcn/cgi-bin/DktRpt.pl?153490125892063-L_1_0-1
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                                   49       Stipulation For Scheduling Order Re: Briefing Schedule For Summary Judgment
                                            Motions and Order Thereon by and between Plaintiff, Defendants (RE: related
                                            document(s)48 Notice of Proposed Stipulation filed by Plaintiff Howard M
                                            Ehrenberg). On or before January 18, 2023, any party may move for summary
                                            judgment, or alternatively summary adjudication. On or before February 22, 2023,
                                            any Opposition shall be filed. On or before March 8, 2023, any Reply brief shall be
          11/30/2022                        filed. Signed on 11/30/2022 (ylr) (Entered: 11/30/2022)

                                   50       Letter of Adjournment: Hearing rescheduled from January 11, 2023 at 12:00 p.m.
                                            to March 22, 2023 at 12:00 p.m. Filed by Howard M Ehrenberg (related
          01/10/2023                        document(s)). (Nolan, Jeffrey) (Entered: 01/10/2023)

                                            Adjourned Without Hearing Pre-Trial Conference set for 03/22/2023 at 12:00 PM
          01/11/2023                        at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 01/13/2023)

                                   51       Motion For Summary Judgment Filed by Eugene Ronald Scheiman, Sanford P
                                            Rosen on behalf of Arvind Walia. (Attachments: # 1 Exhibit A-Amended
                                            Complaint # 2 Exhibit B-Answer # 3 Exhibit C-Statement of Undisputed Facts # 4
          01/18/2023                        Exhibit D-Proposed Order) (Rosen, Sanford) (Entered: 01/18/2023)

                                   52       Motion For Summary Judgment Defendants' Notice of Motion for Partial Summary
                                            Judgment Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf of Arvind
          01/18/2023                        Walia. (Rosen, Sanford) (Entered: 01/18/2023)

                                   53       Motion For Summary Judgment or in the Alternative, Summary Adjudication as
                                            Against Defendants Arvind Walia and Niknim Management, Inc.. Objections to be
                                            filed on February 22, 2023. Hearing on Objections, if any, will be held on: TBD.
                                            Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg. (Nolan, Jeffrey)
          01/18/2023                        (Entered: 01/18/2023)

                                   54       Statement of Undisputed Facts / Joint Statement of Uncontroverted Facts in
                                            Support of Plaintiff's Motion for Summary Judgment or, in the Alternative,
                                            Summary Adjudication; Plaintiff's Additional Statement of Facts Filed by Jeffrey P
          01/18/2023                        Nolan on behalf of Howard M Ehrenberg (Nolan, Jeffrey) (Entered: 01/18/2023)

                                   55       Affidavit in Support / Affidavit of Jeffrey P. Nolan in Support of Motion for
                                            Summary Judgment, or in the Alternative, Summary Adjudication as Against
                                            Defendants Arvind Walia and Niknim Management, Inc. Filed by Jeffrey P Nolan
                                            on behalf of Howard M Ehrenberg (RE: related document(s)53 Motion for
                                            Summary Judgment filed by Plaintiff Howard M Ehrenberg) (Attachments: # 1
                                            Exhibit 1 - Walia Deposition Excerpts # 2 Exhibit 2 - Plaintiff's First RFP # 3
                                            Exhibit 3 - Defendant's Response to First RFP # 4 Exhibit 4 - April 15, 2016 Email
                                            # 5 Exhibit 5 - Membership Interests Purchase Agreement # 6 Exhibit Produced
                                            Docs (REDACTED) # 7 Exhibit 7 - Proposed Order) (Nolan, Jeffrey) (Entered:
          01/18/2023                        01/18/2023)

          01/18/2023               56       Affidavit in Support / Affidavit of Edith Wong in Support of Motion for Summary
                                            Judgment, or in the Alternative, Summary Adjudication as Against Defendants
                                            Arvind Walia and Niknim Management, Inc. Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)53 Motion for Summary Judgment
                                            filed by Plaintiff Howard M Ehrenberg) (Attachments: # 1 Exhibit A - February
                                            2016 Bank Statement # 2 Exhibit B - August 2016 Bank Statement # 3 Exhibit C -
                                            March 2017 Bank Statement # 4 Exhibit D - December 1, 2014 Email # 5 Exhibit E
                                            - February 20, 2015 Letter (REDACTED) # 6 Exhibit F - Asset Purchase
                                            Agreement # 7 Exhibit G - Disbursement Authorization and Itemization


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                                                             https://nyeb-ecf.sso.dcn/cgi-bin/DktRpt.pl?153490125892063-L_1_0-1
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                                            (REDACTED) # 8 Exhibit H - May 17, 2017 Email # 9 Exhibit I - May 18, 2017
                                            Email chain # 10 Exhibit J - May 31, 2017 Email chain # 11 Exhibit K - May 31,
                                            2017 Email # 12 Exhibit L - May 31, 2017 Email # 13 Exhibit M - June 15, 2017
                                            Email # 14 Exhibit N - June 19, 2017 Email) (Nolan, Jeffrey) (Entered:
                                            01/18/2023)

                                   57       Affidavit in Support / Affidavit of Frank A. Lazzara in Support of Motion for
                                            Summary Judgment, or in the Alternative, Summary Adjudication Filed by Jeffrey P
                                            Nolan on behalf of Howard M Ehrenberg (RE: related document(s)53 Motion for
                                            Summary Judgment filed by Plaintiff Howard M Ehrenberg) (Attachments: # 1
                                            Exhibit 1 - September 27, 2017 Email # 2 Exhibit 2 - 2014 Consolidated Financial
                                            Statement # 3 Exhibit 3 - Disbursement Authorization and Itemization
           01/18/2023                       (REDACTED) # 4 Exhibit 4 - Schedule) (Nolan, Jeffrey) (Entered: 01/18/2023)

                                   58       Statement / Request for Judicial Notice in Support of Plaintiff's Motion for
                                            Summary Judgment, or in the Alternative, Summary Adjudication as Against
                                            Defendants Arvind Walia and Niknim Management, Inc. Filed by Jeffrey P Nolan
                                            on behalf of Howard M Ehrenberg (RE: related document(s)53 Motion for
                                            Summary Judgment filed by Plaintiff Howard M Ehrenberg) (Attachments: # 1
                                            Exhibit 1 - Constellation Admission Application # 2 Exhibit 2 - Walia POC 10141
                                            # 3 Exhibit 3 - State Court Summons, Complaint, Judgment) (Nolan, Jeffrey)
           01/18/2023                       (Entered: 01/18/2023)

                                   59       Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)53 Motion for Summary Judgment filed by
                                            Plaintiff Howard M Ehrenberg, 54 Statement of Undisputed Facts filed by Plaintiff
                                            Howard M Ehrenberg, 55 Affidavit in Support filed by Plaintiff Howard M
                                            Ehrenberg, 56 Affidavit in Support filed by Plaintiff Howard M Ehrenberg, 57
                                            Affidavit in Support filed by Plaintiff Howard M Ehrenberg, 58 Statement filed by
           01/19/2023                       Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 01/19/2023)

                                   60       Objection / Opposition to Motion of Defendants Arvind Walia and Niknim
                                            Management Inc. for Partial Summary Judgment Dismissing Claims Asserted in
                                            the Complaint Under 11 U.S.C. §544 Filed by Jeffrey P Nolan on behalf of Howard
                                            M Ehrenberg (RE: related document(s)51 Motion for Summary Judgment filed by
                                            Defendant Arvind Walia, 52 Motion for Summary Judgment filed by Defendant
           02/22/2023                       Arvind Walia) (Nolan, Jeffrey) (Entered: 02/22/2023)

                                   61       Response / Plaintiff's Response to Defendants' Separate Statement of Facts and
                                            Plaintiff's Additional Facts in Opposition to Defendants' Motion for Summary
                                            Judgment or, in the Alternative, Summary Adjudication Filed by Jeffrey P Nolan on
                                            behalf of Howard M Ehrenberg (RE: related document(s)51 Motion for Summary
           02/22/2023                       Judgment filed by Defendant Arvind Walia) (Nolan, Jeffrey) (Entered: 02/22/2023)

                                   62       Affidavit in Support / Affidavit of Jeffrey P. Nolan in Support of Opposition to
                                            Motion of Defendants Arvind Walia and Niknim Management, Inc. for Partial
                                            Summary Judgment Dismissing Claims Asserted in the Complaint Under 11 U.S.C.
                                            §544 Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related
                                            document(s)60 Objection filed by Plaintiff Howard M Ehrenberg) (Attachments: #
                                            1 Exhibit 8 - McBride POC # 2 Exhibit 9 - Schedule 10 # 3 Exhibit 10_Pt 1 - BofA
                                            Credit Agreement # 4 Exhibit 10_Pt 2 - BofA Credit Agreement # 5 Exhibit 10_Pt
                                            3 - BofA Credit Agreement # 6 Exhibit 11_Pt 1 - Third Amended Plan # 7 Exhibit
           02/22/2023                       11_Pt 2 - Third Amended Plan) (Nolan, Jeffrey) (Entered: 02/22/2023)




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                                   63       Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)60 Objection filed by Plaintiff Howard M
                                            Ehrenberg, 61 Response filed by Plaintiff Howard M Ehrenberg, 62 Affidavit in
                                            Support filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered:
           02/23/2023                       02/23/2023)

                                   64       Motion For Summary Judgment Affidavit of Arvind Walia in Opposition to
                                            Plaintiff's Motion for Summary Judgment Filed by Eugene Ronald Scheiman,
                                            Sanford P Rosen on behalf of Arvind Walia. (Rosen, Sanford) (Entered:
           02/24/2023                       02/24/2023)

                                   65       Motion For Summary Judgment Brief of Defendants in Opposition to Motion for
                                            Summary Judgment Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf
           02/24/2023                       of Arvind Walia. (Rosen, Sanford) (Entered: 02/24/2023)

                                   66       Opposition Motion For Summary Judgment Affirmation of Sanford P. Rosen in
                                            Opposition to Motion for Summary Judgment Filed by Eugene Ronald Scheiman,
                                            Sanford P Rosen on behalf of Arvind Walia. (Rosen, Sanford) (Entered:
           02/24/2023                       02/24/2023)

                                   67       Affidavit in Opposition of Arvind Walia to Plaintiff's Motion for Summary
                                            Judgment Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf of Arvind
                                            Walia (RE: related document(s)53 Motion for Summary Judgment filed by Plaintiff
           03/02/2023                       Howard M Ehrenberg) (Rosen, Sanford) (Entered: 03/02/2023)

                                   68       Memorandum of Law in Opposition to Plaintiff's Motion for Summary Judgment
                                            Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf of Arvind Walia
                                            (RE: related document(s)53 Motion for Summary Judgment filed by Plaintiff
           03/02/2023                       Howard M Ehrenberg) (Rosen, Sanford) (Entered: 03/02/2023)

                                   69       Affidavit in Opposition of Sanford P. Rosen in Opposition to Plaintiff's Motion for
                                            Summary Judgment Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf
                                            of Arvind Walia (RE: related document(s)53 Motion for Summary Judgment filed
           03/02/2023                       by Plaintiff Howard M Ehrenberg) (Rosen, Sanford) (Entered: 03/02/2023)

                                   70       Reply of Defendants Arvind Walia and Niknim Management Inc. in Support of
                                            Motion for Partial Summary Judgment Dismissing Certain Claims Asserted in the
                                            Complaint Filed by Sanford P Rosen on behalf of Arvind Walia (RE: related
                                            document(s)52 Motion for Summary Judgment filed by Defendant Arvind Walia)
           03/10/2023                       (Rosen, Sanford) (Entered: 03/10/2023)

                                   71       Objection and Request to Strike the Affidavit of Arvind Walia Submitted in
                                            Opposition to Plaintiff's Motion for Summary Judgment, or in the Alternative,
                                            Summary Adjudication Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg
                                            (RE: related document(s)64 Motion for Summary Judgment filed by Defendant
           03/10/2023                       Arvind Walia) (Nolan, Jeffrey) (Entered: 03/10/2023)




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                                   72       Reply Brief in Support of Motion for Summary Judgment, or in the Alternative,
                                            Summary Adjudication as Against Defendants Arvind Walia and Niknim
                                            Management, Inc. Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE:
                                            related document(s)53 Motion for Summary Judgment filed by Plaintiff Howard M
                                            Ehrenberg, 64 Motion for Summary Judgment filed by Defendant Arvind Walia, 65
                                            Motion for Summary Judgment filed by Defendant Arvind Walia, 68 Memorandum
                                            of Law in Opposition filed by Defendant Arvind Walia, 71 Objection filed by
           03/10/2023                       Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 03/10/2023)

                                   73       Affidavit in Support / Affidavit of Jeffrey P. Nolan in Support of Plaintiffs Motion
                                            for Summary Judgment, or in the Alternative, Summary Adjudication Filed by
                                            Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related document(s)53
                                            Motion for Summary Judgment filed by Plaintiff Howard M Ehrenberg)
                                            (Attachments: # 1 Exhibit 12 - Form 1120_Instructions # 2 Exhibit 13 - Walia
           03/10/2023                       Deposition Excerpts) (Nolan, Jeffrey) (Entered: 03/10/2023)

                                   74       Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)71 Objection filed by Plaintiff Howard M
                                            Ehrenberg, 72 Reply filed by Plaintiff Howard M Ehrenberg, 73 Affidavit in
                                            Support filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered:
           03/10/2023                       03/10/2023)

                                   75       Affidavit/Certificate of Service Filed by Sanford P Rosen on behalf of Arvind
                                            Walia (RE: related document(s)64 Motion for Summary Judgment filed by
                                            Defendant Arvind Walia, 65 Motion for Summary Judgment filed by Defendant
                                            Arvind Walia, 66 Motion for Summary Judgment filed by Defendant Arvind Walia)
           03/13/2023                       (Rosen, Sanford) (Entered: 03/13/2023)

                                   76       Affidavit/Certificate of Service Filed by Sanford P Rosen on behalf of Niknim
                                            Management Inc. (RE: related document(s)64 Motion for Summary Judgment filed
                                            by Defendant Arvind Walia, 65 Motion for Summary Judgment filed by Defendant
                                            Arvind Walia, 66 Motion for Summary Judgment filed by Defendant Arvind Walia)
           03/13/2023                       (Rosen, Sanford) (Entered: 03/13/2023)

                                   77       Affidavit/Certificate of Service of Defendants' Reply in Support of Motion for
                                            Partial Summary Judgment Filed by Sanford P Rosen on behalf of Arvind Walia
                                            (RE: related document(s)51 Motion for Summary Judgment filed by Defendant
                                            Arvind Walia, 52 Motion for Summary Judgment filed by Defendant Arvind Walia,
                                            53 Motion for Summary Judgment filed by Plaintiff Howard M Ehrenberg) (Rosen,
           03/13/2023                       Sanford) (Entered: 03/13/2023)

                                   78       Affidavit/Certificate of Service of Defendants' Reply in Support of Motion for
                                            Partial Summary Judgment Filed by Sanford P Rosen on behalf of Niknim
                                            Management Inc. (RE: related document(s)51 Motion for Summary Judgment filed
                                            by Defendant Arvind Walia, 52 Motion for Summary Judgment filed by Defendant
           03/13/2023                       Arvind Walia) (Rosen, Sanford) (Entered: 03/13/2023)

           03/21/2023              79       Letter Regarding Completion of Briefing Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)49 Stipulation and Order, 51
                                            Motion for Summary Judgment filed by Defendant Arvind Walia, 52 Motion for
                                            Summary Judgment filed by Defendant Arvind Walia, 53 Motion for Summary
                                            Judgment filed by Plaintiff Howard M Ehrenberg, 54 Statement of Undisputed
                                            Facts filed by Plaintiff Howard M Ehrenberg, 55 Affidavit in Support filed by
                                            Plaintiff Howard M Ehrenberg, 56 Affidavit in Support filed by Plaintiff Howard M
                                            Ehrenberg, 57 Affidavit in Support filed by Plaintiff Howard M Ehrenberg, 58



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                                            Statement filed by Plaintiff Howard M Ehrenberg, 60 Objection filed by Plaintiff
                                            Howard M Ehrenberg, 61 Response filed by Plaintiff Howard M Ehrenberg, 62
                                            Affidavit in Support filed by Plaintiff Howard M Ehrenberg, 64 Motion for
                                            Summary Judgment filed by Defendant Arvind Walia, 65 Motion for Summary
                                            Judgment filed by Defendant Arvind Walia, 66 Motion for Summary Judgment
                                            filed by Defendant Arvind Walia, 67 Affirmation in Opposition filed by Defendant
                                            Arvind Walia, 68 Memorandum of Law in Opposition filed by Defendant Arvind
                                            Walia, 69 Affirmation in Opposition filed by Defendant Arvind Walia, 70 Reply
                                            filed by Defendant Arvind Walia, 71 Objection filed by Plaintiff Howard M
                                            Ehrenberg, 72 Reply filed by Plaintiff Howard M Ehrenberg, 73 Affidavit in
                                            Support filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered:
                                            03/21/2023)

                                            Hearing Held and Adjourned; Appearances: Sanford P Rosen, Eugene Ronald
                                            Scheiman, Jeffrey Nolan. Pre-Trial Conference set for 06/28/2023 at 12:00 PM at
                                            Courtroom 960 (Judge Trust), CI, NY. COURT TO ISSUE TRIAL SCHEDULING
                                            ORDER; LETTER OF ADJOURNMENT TO BE FILED (ymm) (Entered:
           03/22/2023                       03/23/2023)

                                   80       Letter of Adjournment: Hearing rescheduled from March 22, 2023 at 12:00 p.m. to
                                            June 28, 2023 at 12:00 p.m. Filed by Howard M Ehrenberg (related document(s)).
           03/23/2023                       (Nolan, Jeffrey) (Entered: 03/23/2023)

                                            Adjourned Without Hearing Pre-Trial Conference set for 10/24/2023 at 02:30 PM
           06/28/2023                       at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 06/28/2023)

                                   81       Letter of Adjournment: Hearing rescheduled from June 28, 2023 at 12:00 p.m. to
                                            October 24, 2023 at 2:30 p.m. Filed by Howard M Ehrenberg (related
           06/28/2023                       document(s)). (Nolan, Jeffrey) (Entered: 06/28/2023)

                                            Hearing Held and Adjourned; Appearances: Sanford P Rosen, Eugene Ronald
                                            Scheiman, Jeffrey Norlan. Pre-Trial Conference set for 11/14/2023 at 02:00 PM at
                                            Courtroom 960 (Judge Trust), CI, NY. LETTER OF ADJOURNMENT TO BE
           10/24/2023                       FILED (ymm) (Entered: 10/31/2023)

                                   82       Letter of Adjournment: Hearing rescheduled from October 24, 2023 at 2:30 p.m.
                                            (prevailing Eastern Time) to November 14, 2023 at 2:00 p.m. (prevailing Eastern
                                            Time) Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg. (Nolan, Jeffrey)
           10/26/2023                       (Entered: 10/26/2023)

                                   83       Letter of Adjournment: Hearing rescheduled from November 14, 2023 at 2:00 p.m.
                                            (prevailing Eastern Time) to January 23, 2024 at 2:00 p.m. (prevailing Eastern
                                            Time) Filed by Howard M Ehrenberg (related document(s)82). (Nolan, Jeffrey)
           11/13/2023                       (Entered: 11/13/2023)

                                            Adjourned Without Hearing Pre-Trial Conference set for 01/23/2024 at 02:00 PM
           11/14/2023                       at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 11/14/2023)

                                   84       Response Defendants' Corrected Affidavit in Opposition to Plaintiff's Motion for
                                            Summary Judgment Filed by Sanford P Rosen on behalf of Arvind Walia (RE:
                                            related document(s)53 Motion for Summary Judgment filed by Plaintiff Howard M
           01/05/2024                       Ehrenberg) (Rosen, Sanford) (Entered: 01/05/2024)




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                                   85       Affirmation in Opposition of Sanford P. Rosen in Opposition to Plaintiff's Motion
                                            for Summary Judgment Filed by Sanford P Rosen on behalf of Arvind Walia
           01/05/2024                       (Rosen, Sanford) (Entered: 01/05/2024)

                                   86       Affidavit/Certificate of Service of (i) Affirmation of Sanford P. Rosen in Support of
                                            Defendants Opposition to Plaintiffs Motion for Summary Judgment and (ii)
                                            Defendants Corrected Affidavit in Opposition to Plaintiffs Motion for Summary
                                            Judgment Filed by Sanford P Rosen on behalf of Arvind Walia (RE: related
                                            document(s)53 Motion for Summary Judgment filed by Plaintiff Howard M
                                            Ehrenberg) (Rosen, Sanford). Related document(s) 84 Response filed by Defendant
                                            Arvind Walia, 85 Affirmation in Opposition filed by Defendant Arvind Walia.
           01/12/2024                       Modified to add links #84 & 85 on 1/12/2024 (caf). (Entered: 01/12/2024)

                                            Hearing Held and Adjourned; Appearances: Sanford P Rosen, Jeffrey P Nolan. Pre-
                                            Trial Conference (ZOOM) set for 02/27/2024 at 02:00 PM at Courtroom 960
                                            (Judge Trust), CI, NY. PARTIES TO ARGUE SUMMARY MOTION
           01/23/2024                       (ymm) (Entered: 01/25/2024)

                                   87       Letter of Adjournment: Hearing rescheduled from January 23, 2024 to February 27,
           01/25/2024                       2024 Filed by Howard M Ehrenberg. (Nolan, Jeffrey) (Entered: 01/25/2024)

                                   88       Letter to the Court Regarding Defendants' Intention to Proceed at the Hearing of
                                            February 27, 2024 Filed by Sanford P Rosen on behalf of Arvind Walia (RE:
                                            related document(s)51 Motion for Summary Judgment filed by Defendant Arvind
                                            Walia, 53 Motion for Summary Judgment filed by Plaintiff Howard M Ehrenberg)
           02/16/2024                       (Rosen, Sanford) (Entered: 02/16/2024)

                                            Ruling Conference (by Zoom) scheduled for 3/6/2024 at 01:30 PM at 271-C
                                            Cadman Plaza East, Brooklyn, NY 11201 Chief Judge Trust's Courtroom on the 3th
                                            floor, Room 3554. (RE: related document(s)51 Motion for Summary Judgment
           02/16/2024                       filed by Defendant Arvind Walia) (ymm). (Entered: 02/26/2024)

                                   89       Letter of Adjournment: Hearing rescheduled from February 27, 2024 at 1:30 p.m.
                                            to March 6, 2024 at 1:30 p.m. Filed by Jeffrey P Nolan on behalf of Howard M
           02/21/2024                       Ehrenberg (Nolan, Jeffrey) (Entered: 02/21/2024)

                                            Adjourned Without Hearing Pre-Trial Conference set for 03/06/2024 at 01:30 PM
           02/27/2024                       at Courtroom 3554 (Judge Feller), Brooklyn, NY. (ymm) (Entered: 03/05/2024)

                                   90       Letter of Adjournment: Hearing rescheduled from March 6, 2024 at 1:30 p.m. to
                                            March 14, 2024 at 2:00 p.m. Filed by Jeffrey P Nolan on behalf of Howard M
           03/05/2024                       Ehrenberg (Nolan, Jeffrey) (Entered: 03/05/2024)

                                            Adjourned Without Hearing Pre-Trial Conference (via Zoom) set for 03/14/2024 at
           03/06/2024                       02:00 PM at Courtroom 960 (Judge Trust), CI, NY. (ymm) (Entered: 03/06/2024)

                                            Adjourned Without Hearing 'Hearing (via Zoom) scheduled for 03/14/2024 at
                                            02:00 PM at Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s) 51
                                            Motion for Summary Judgment Filed by Defendant Arvind Walia) (ymm) (Entered:
           03/06/2024                       03/06/2024)




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                                                             https://nyeb-ecf.sso.dcn/cgi-bin/DktRpt.pl?153490125892063-L_1_0-1
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                                            Adjourned Without Hearing Pre-Trial Ruling Conference set for 04/10/2024 at
                                            11:00 AM at Courtroom 960 (Judge Trust), CI, NY. MATTER SUBMITTED;
           03/14/2024                       LETTER OF ADJOURNMENT TO BE FILED (ymm) (Entered: 03/15/2024)

                                            Adjourned Without Hearing 'Ruling Conference scheduled for 04/10/2024 at 11:00
                                            AM at Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s) 51 Motion
                                            for Summary Judgment Filed by Defendant Arvind Walia) MOTION
                                            SUBMITTED; LETTER OF ADJOURNMENT TO BE FILED (ymm) (Entered:
           03/14/2024                       03/15/2024)

                                   91       Letter of Adjournment: Hearing rescheduled from March 14, 2024 at 2:00 p.m. to
                                            April 10, 2024 at 11:00 a.m. Filed by Jeffrey P Nolan on behalf of Howard M
           04/05/2024                       Ehrenberg (Nolan, Jeffrey) (Entered: 04/05/2024)

                                            Hearing Held; Appearances: Jeffrey Nolan, Sanford Rosen, Anthony Guliano,
                                            Eugene Scheiman, Howard Ehrenberg. (RE: related document(s) 1 Complaint Filed
                                            by Plaintiff Howard M. Ehrenberg) COURT TO ISSUE TRIAL SCHEDULING
           04/10/2024                       ORDER (alh) (Entered: 04/10/2024)

                                            Hearing Held; Appearances: Jeffrey Nolan, Sanford Rosen, Anthony Guliano,
                                            Eugene Scheiman, Howard Ehrenberg. (RE: related document(s) 51 Motion for
                                            Summary Judgment Filed by Defendant Arvind Walia) MOTION DENIED IN
                                            PART AND GRANTED IN PART AS PER TERMS STATED ON THE RECORD.
                                            PARTIES ARE DIRECTED TO MEDIATION. PARTIES TO SUBMIT ORDER.
           04/10/2024                       COURT TO ISSUE TRIAL SCHEDULING ORDER (alh) (Entered: 04/10/2024)

                                   92       Adversary Pretrial Scheduling Order. Ordered, Pre-Trial Conference set for
                                            7/17/2024 at 01:30 PM at Courtroom 960 (Judge Trust), CI, NY. Trial date set for
                                            7/24/2024 at 09:30 AM at Courtroom 960 (Judge Trust), CI, NY. The parties shall
                                            submit any direct testimony from themselves and any witness under their control
                                            (including experts) by Affidavit signed by the witness(es). Affidavits shall be filed
                                            with the Court no later than July 10, 2024. Any objection to any portion of a
                                            witness affidavit, including evidentiary objections, shall be filed no later than July
                                            12, 2024. The parties are directed to return to mediation. The mediation shall
                                            conclude on or before May 10, 2024. The mediator shall file a report of mediation
                                            on or before May 24, 2024. (RE: related document(s)1 Complaint filed by Plaintiff
           04/16/2024                       Howard M Ehrenberg). Signed on 4/16/2024 (ylr) (Entered: 04/17/2024)

                                   93       Notice of Submission of Proposed Order Filed by Howard M Ehrenberg (related
           04/18/2024                       document(s)53). (Nolan, Jeffrey) (Entered: 04/18/2024)

                                   94       Entered in Error- Please See Below-Letter re Proposed Order Filed by Jeffrey P
                                            Nolan on behalf of Howard M Ehrenberg (RE: related document(s)93 Notice of
                                            Submission of Proposed Order filed by Plaintiff Howard M Ehrenberg) (Nolan,
           04/18/2024                       Jeffrey) Modified on 4/19/2024 (ylr). (Entered: 04/18/2024)

                                   95       Letter re Proposed Order Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)93 Notice of Submission of Proposed Order
           04/18/2024                       filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 04/18/2024)

                                   96       BNC Certificate of Mailing with Application/Notice/Order Notice Date
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                                   97       Ordered Ordered The portion the Motion to avoid the First Transfer made on April
                                            15, 2016 in the amount of $2,500,000 is DENIED with respect to Plaintiffs First
                                            Cause of Action to Avoid an Intentionally Fraudulent Transfer, and Second Cause
                                            of Action to Avoid a Constructively Fraudulent Transfer as a factual issue remains
                                            to be determined at trial. The portion of the Motion to avoid the Second Transfer
                                            made on June 23, 2017, in the amount of $1,520,000 is GRANTED. As to
                                            Defendant Arvind Walia, the Motion is DENIED as to the Second Transfer, as a
                                            factual issue remains to be determined at trial. Plaintiff has failed to establish that,
                                            as a matter of law, Judgment awarded in favor of Plaintiff should be rendered
                                            against Defendants jointly and severally on the theory of alter ego liability. In that
                                            regard, that portion of the Motion is DENIED. The Cross-Motion is DENIED. (RE:
                                            related document(s)51 Motion for Summary Judgment filed by Defendant Arvind
                                            Walia, 53 Motion for Summary Judgment filed by Plaintiff Howard M Ehrenberg,
                                            61 Response filed by Plaintiff Howard M Ehrenberg, 62 Affidavit in Support filed
                                            by Plaintiff Howard M Ehrenberg, 70 Reply filed by Defendant Arvind Walia).
           04/22/2024                       Signed on 4/22/2024 (ylr) (Entered: 04/23/2024)

                                   98       BNC Certificate of Mailing with Application/Notice/Order Notice Date
           04/25/2024                       04/25/2024. (Admin.) (Entered: 04/26/2024)

                                   99       Notice of Appeal to District Court. of ORDER GRANTING AND DENYING IN
                                            PART PLAINTIFFS MOTION FOR SUMMARY JUDGMENT/SUMMARY
                                            ADJUDICATION AND DENYING DEFENDANTS ARVIND WALIA AND NIKNIM
                                            MANAGEMENT, INC. CROSSMOTION FOR SUMMARY JUDGMENT; RULING
                                            ON EVIDENTIARY OBJECTIONS; AND ESTABLISHING FACTS AS ADMITTED
                                            IN THE CASE PURSUANT TO FRCP 56(g) [Docket No. 97].. Fee Amount $298
                                            Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf of Niknim
                                            Management Inc. (RE: related document(s)97 Generic Order). Appellant
                                            Designation due by 05/16/2024. Transmission of Designation to District Court Due
           05/02/2024                       by 06/3/2024. (Rosen, Sanford) (Entered: 05/02/2024)

                                            Receipt of Notice of Appeal( 8-20-08049-ast) [appeal,ntcapl] ( 298.00) Filing Fee.
                                            Receipt number AXXXXXXXX. Fee amount 298.00. (re: Doc# 99) (U.S. Treasury)
           05/02/2024                       (Entered: 05/02/2024)

                                   100      Amended Notice of Appeal to District Court: Attachment of order appealed from
                                            Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf of Niknim
                                            Management Inc. (RE: related document(s)99 Notice of Appeal filed by Defendant
                                            Niknim Management Inc.). (Attachments: # 1 ORDER GRANTING AND
                                            DENYING IN PART PLAINTIFFS MOTION FOR SUMMARY JUDGMENT/
                                            SUMMARY ADJUDICATION AND DENYING DEFENDANTS ARVIND
                                            WALIA AND NIKNIM MANAGEMENT, INC. CROSSMOTION FOR
                                            SUMMARY JUDGMENT; RULING ON EVIDENTIARY OBJECTIONS; AND
           05/02/2024                       ESTABLISHING FACTS AS AD)(Rosen, Sanford) (Entered: 05/02/2024)

                                   101      Appeal Deficiency Notice (RE: related document(s)99 Notice of Appeal filed by
           05/03/2024                       Defendant Niknim Management Inc.) (alh) (Entered: 05/03/2024)

                                   102      Notice to Parties of Requirements, Deadlines (RE: related document(s)99 Notice of
           05/03/2024                       Appeal filed by Defendant Niknim Management Inc.) (alh) (Entered: 05/03/2024)

                                   103      Court's Service List (RE: related document(s)102 Notice to Parties AP) (alh)
           05/03/2024                       (Entered: 05/03/2024)




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                                   104      Transmittal of Notice of Appeal to District Court (RE: related document(s)97
                                            Generic Order, 99 Notice of Appeal filed by Defendant Niknim Management Inc.,
                                            100 Amended Notice of Appeal filed by Defendant Niknim Management Inc.)
           05/03/2024                       (Attachments: # 1 Adversary Proceeding Docket) (alh) (Entered: 05/03/2024)

                                   105      Civil Cover Sheet Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf
                                            of Niknim Management Inc. (RE: related document(s)99 Notice of Appeal filed by
           05/03/2024                       Defendant Niknim Management Inc.). (Rosen, Sanford) (Entered: 05/03/2024)

                                   106      Notice of Appeal to District Court. Second Amended. Fee Amount $298 Filed by
                                            Eugene Ronald Scheiman, Sanford P Rosen on behalf of Niknim Management Inc.
                                            (RE: related document(s)97 Generic Order). (Attachments: # 1 ORDER
                                            GRANTING AND DENYING IN PART PLAINTIFFS MOTION FOR
                                            SUMMARY JUDGMENT/SUMMARY ADJUDICATION AND DENYING
                                            DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT, INC.
                                            CROSSMOTION FOR SUMMARY JUDGMENT; RULING ON EVIDENTIARY
                                            OBJECTIONS; AND ESTABLISHING FACTS AS AD)(Rosen, Sanford)
           05/03/2024                       Modified on 5/6/2024 (one). (Entered: 05/03/2024)

                                   107      BNC Certificate of Mailing with Notice/Order Notice Date 05/05/2024. (Admin.)
           05/05/2024                       (Entered: 05/06/2024)

                                   108      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           05/05/2024                       05/05/2024. (Admin.) (Entered: 05/06/2024)

                                   109      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           05/05/2024                       05/05/2024. (Admin.) (Entered: 05/06/2024)

                                   110      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           05/05/2024                       05/05/2024. (Admin.) (Entered: 05/06/2024)

                                   111      Transmittal of Additional Record on Appeal to District Court in reference to Civil
                                            Case Number: N/A (RE: related document(s)105 Civil Cover Sheet filed by
                                            Defendant Niknim Management Inc., 106 Notice of Appeal filed by Defendant
                                            Niknim Management Inc.) (Attachments: # 1 Bankruptcy Docket Sheet) (one)
           05/06/2024                       (Entered: 05/06/2024)

                                   112      Notice of Docketing Record on Appeal to District Court. Civil Action Number: 24-
                                            cv-03330 District Court Judge Gary R. Brown assigned. (RE: related
                                            document(s)99 Notice of Appeal filed by Defendant Niknim Management Inc., 106
                                            Notice of Appeal filed by Defendant Niknim Management Inc.) (one) (Entered:
           05/06/2024                       05/06/2024)

                                            Receipt of Notice of Appeal( 8-20-08049-ast) [appeal,ntcapl] ( 298.00) Filing Fee.
                                            Receipt number Duplicate payment. Fee amount 298.00. (re: Doc# 106) (Moffett)
           05/06/2024                       (Entered: 05/06/2024)

                                   113      Letter to the Honorable Alan S. Trust Filed by Jeffrey P Nolan on behalf of Howard
                                            M Ehrenberg (RE: related document(s)92 Scheduling Order) (Nolan, Jeffrey)
           05/15/2024                       (Entered: 05/15/2024)

           05/16/2024              114      Appellant Designation of Contents For Inclusion in Record On Appeal &
                                            Statement of Issues Filed by Eugene Ronald Scheiman, Sanford P Rosen on behalf
                                            of Niknim Management Inc. (RE: related document(s)99 Notice of Appeal filed by



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                                            Defendant Niknim Management Inc., 100 Amended Notice of Appeal filed by
                                            Defendant Niknim Management Inc., 105 Civil Cover Sheet filed by Defendant
                                            Niknim Management Inc., 106 Notice of Appeal filed by Defendant Niknim
                                            Management Inc.). Appellee designation due by 05/30/2024. (Rosen, Sanford)
                                            (Entered: 05/16/2024)

                                   115      Notice of Submission of Proposed Order Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)97 Generic Order) (Attachments: #
           05/16/2024                       1 Exhibit Proposed Order) (Nolan, Jeffrey) (Entered: 05/16/2024)

                                   116      Affidavit/Certificate of Service of Notice of Submission of Judgment Filed by
                                            Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related document(s)115
                                            Notice of Submission of Proposed Order filed by Plaintiff Howard M Ehrenberg)
           05/16/2024                       (Nolan, Jeffrey) (Entered: 05/16/2024)

                                   117      Partial Judgment Against Niknim Managment, Inc. It is Hereby Ordered that
                                            Judgment is entered against defendant, Niknim Management Inc. and in favor
                                            ofPlaintiff, Howard M Ehrenberg, the duly appointed Liquidating Trustee for
                                            OrionHealthcorp., Inc., in the amount of $1,520,000 in principal plus costs of suit
                                            of $350.00 and prejudgment interest calculated from the from the date of the filing
                                            of the Complaint on March 13, 2020, to judgment, (1,524 days) as allowed by the
                                            applicable statutory interest rate(RE: related document(s)97 Generic Order). Signed
           05/22/2024                       on 5/22/2024 (ylr) (Entered: 05/22/2024)

                                   118      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           05/24/2024                       05/24/2024. (Admin.) (Entered: 05/25/2024)

                                   119      Letter re Continuance of Trial Filed by Jeffrey P Nolan on behalf of Howard M
           05/30/2024                       Ehrenberg (Nolan, Jeffrey) (Entered: 05/30/2024)

                                   120      Letter Regarding Scheduling of Mediation Filed by Sanford P Rosen on behalf of
                                            Niknim Management Inc. (RE: related document(s)92 Scheduling Order) (Rosen,
           05/30/2024                       Sanford) (Entered: 05/30/2024)

                                   121      Transcript & Notice regarding the hearing held on 05/22/22. Pursuant to the new
                                            policy adopted by the Judicial Conference, transcripts are available for inspection
                                            only at the Office of the Clerk or may be purchased from the court transcriber.
                                            [Please see the court's website for contact information for the Transcription Service
                                            Agency].. Notice of Intent to Request Redaction Due By 06/6/2024. Redaction
                                            Request Due By 06/20/2024. Redacted Transcript Submission Due By 07/1/2024.
                                            TRANSCRIPT ACCESS WILL BE ELECTRONICALLY RESTRICTED
                                            THROUGH 08/28/2024 AND MAY BE VIEWED AT THE OFFICE OF THE
           05/30/2024                       CLERK. (Veritext) (Entered: 05/30/2024)

                                   122      Incomplete Transmittal of Additional Record on Appeal to District Court in
                                            reference to Civil Case Number: 24-cv-03330(RE: related document(s)99 Notice of
                                            Appeal filed by Defendant Niknim Management Inc., 114 Appellant Designation &
                                            Statement of Issues filed by Defendant Niknim Management Inc.) (Attachments: #
                                            1 Designations part 2 # 2 Designations part 3 # 3 Designations part 4 # 4
                                            Designations part 5 # 5 Designations part 6 # 6 Designations part 7 # 7
                                            Designations part 8 # 8 Designations part 9 # 9 Designations part 10 # 10
                                            Designations part 11 # 11 Designations part 12 # 12 Designations part 13 # 13
                                            Designations part 14 # 14 Designations part 15 # 15 Designations part 16 # 16
           06/03/2024                       Bankruptcy Court Docket Sheet) (one) (Entered: 06/03/2024)




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                                   123      BNC Certificate of Mailing with Notice of Filing of Official Transcript (BK)
           06/05/2024                       Notice Date 06/05/2024. (Admin.) (Entered: 06/06/2024)

                                   124      Abstract of Judgment: Judgment entered on 05/22/2024, against Niknim
                                            Management Inc. represented by Paris Gyparakis in favor of Howard M Ehrenberg,
                                            in his capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al represented
                                            by Jeffrey P Nolan in the amount of $ $1,520,000 principal $350.00costs of suit
                                            and prejudgment interest calculated from the from the date of the filing of the
                                            Complaint on March 13, 2020, to judgment, (1,524 days) as allowed by the
                                            applicable statutory interest rate(RE: related document(s)117 Judgment) (las)
           06/18/2024                       (Entered: 06/18/2024)

                                            Receipt Number 10333764; Fee Amount $ 60.00 for Abstract of Judgment (srm)
           06/18/2024                       (Entered: 06/20/2024)

                                   125      Amended Statement of Issues to be Presented on Appeal Filed by Sanford P Rosen
                                            on behalf of Niknim Management Inc. (RE: related document(s)106 Notice of
                                            Appeal filed by Defendant Niknim Management Inc.) (Rosen, Sanford) (Entered:
           06/24/2024                       06/24/2024)

                                   126      Mediator's Report . Filed by Jonathan L Flaxer on behalf of Jonathan L Flaxer Esq
           07/03/2024                       (Flaxer, Jonathan) (Entered: 07/03/2024)

                                   127      Motion to Authorize/Direct Plaintiffs Motion In Limine #1 To Exclude Expert
                                            Testimony Of Charles Lunden Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg. Hearing scheduled for 7/17/2024 at 01:30 PM at Courtroom 960 (Judge
           07/03/2024                       Trust), CI, NY. (Nolan, Jeffrey) (Entered: 07/03/2024)

                                   128      Declaration Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE:
                                            related document(s)127 Motion to Authorize/Direct filed by Plaintiff Howard M
                                            Ehrenberg) (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                                            # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G-1 # 8 Exhibit G-2) (Nolan, Jeffrey)
           07/03/2024                       (Entered: 07/03/2024)

                                   129      Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)127 Motion to Authorize/Direct filed by
                                            Plaintiff Howard M Ehrenberg, 128 Declaration filed by Plaintiff Howard M
           07/03/2024                       Ehrenberg) (Nolan, Jeffrey) (Entered: 07/03/2024)

                                   130      Statement Original Signed Declaration Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)128 Declaration filed by Plaintiff
           07/03/2024                       Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/03/2024)

                                   131      Brief Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (Nolan, Jeffrey)
           07/10/2024                       (Entered: 07/10/2024)

                                   132      Affidavit Re: Trial Affidavit of Craig Jacobson, Expert Filed by Jeffrey P Nolan on
                                            behalf of Howard M Ehrenberg (RE: related document(s)131 Brief filed by
           07/10/2024                       Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/10/2024)

                                   133      Affidavit Re: Trial Affidavit of Plaintiffs Expert, Max Mitchell Filed by Jeffrey P
                                            Nolan on behalf of Howard M Ehrenberg (RE: related document(s)131 Brief filed
           07/10/2024                       by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/10/2024)




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                                   134      Affidavit Re: Trial Affidavit of Frank Lazzara Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)131 Brief filed by Plaintiff Howard
           07/10/2024                       M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/10/2024)

                                   135      Affidavit Re: Trial Affidavit of Arvind Walia Filed by Sanford P Rosen on behalf of
                                            Arvind Walia (RE: related document(s)22 Amended Complaint filed by Plaintiff
           07/10/2024                       Howard M Ehrenberg) (Rosen, Sanford) (Entered: 07/10/2024)

                                   136      Statement Request For Judicial Notice In Support Trial Of Plaintiffs As Against
                                            Defendants Arvind Walia And Niknim Management, Inc. Filed by Jeffrey P Nolan
                                            on behalf of Howard M Ehrenberg (RE: related document(s)131 Brief filed by
                                            Plaintiff Howard M Ehrenberg) (Attachments: # 1 Exhibit 4) (Nolan, Jeffrey)
           07/10/2024                       (Entered: 07/10/2024)

                                   137      Joint Pre-Trial Memorandum Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)92 Scheduling Order) (Nolan, Jeffrey)
           07/10/2024                       (Entered: 07/10/2024)

                                   138      Findings of Fact and Conclusions of Law Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg (RE: related document(s)131 Brief filed by Plaintiff Howard
           07/11/2024                       M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/11/2024)

                                   139      Affidavit Re: Plaintiff's Submission of Trial Affidavit of Edith Wong Filed by
                                            Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related document(s)131
                                            Brief filed by Plaintiff Howard M Ehrenberg) (Attachments: # 1 Exhibit F # 2
           07/11/2024                       Exhibit G-H # 3 Exhibit I-N) (Nolan, Jeffrey) (Entered: 07/11/2024)

                                   140      Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)131 Brief filed by Plaintiff Howard M
                                            Ehrenberg, 132 Affidavit filed by Plaintiff Howard M Ehrenberg, 133 Affidavit
                                            filed by Plaintiff Howard M Ehrenberg, 134 Affidavit filed by Plaintiff Howard M
                                            Ehrenberg, 136 Statement filed by Plaintiff Howard M Ehrenberg, 137 Joint Pre-
                                            Trial Memorandum filed by Plaintiff Howard M Ehrenberg, 138 Findings of Fact
                                            and Conclusions of Law filed by Plaintiff Howard M Ehrenberg, 139 Affidavit
           07/11/2024                       filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered: 07/11/2024)

                                   141      Statement Plaintiffs Notice Of Lodging Original Deposition Transcripts Filed by
                                            Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related document(s)131
                                            Brief filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey) (Entered:
           07/16/2024                       07/16/2024)

                                   142      Affidavit/Certificate of Service of Defendants Trial Affidavit Filed by Sanford P
                                            Rosen on behalf of Arvind Walia (RE: related document(s)92 Scheduling Order)
           07/17/2024                       (Rosen, Sanford) (Entered: 07/17/2024)

                                   143      Affidavit/Certificate of Service Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)141 Statement filed by Plaintiff Howard M
           07/17/2024                       Ehrenberg) (Nolan, Jeffrey) (Entered: 07/17/2024)

                                            Hearing Held and Adjourned; - Appearances: Eugene Simon, Sanford Rosen
                                            Jeffrey Norlan. Trial date set for 07/24/2024 at 09:30 AM at Courtroom 960 (Judge
                                            Trust), CI, NY.(RE: related document(s)92 Scheduling Order) (ymm) (Entered:
           07/17/2024                       07/22/2024)




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                                            Hearing Held; - Appearances: Sanford P Rosen, Jeffrey P Nolan, Eugene Simon.
                                            (RE: related document(s)127 Motion to Authorize/Direct /Direct Plaintiffs Motion
                                            In Limine To Exclude Expert Testimony Of Charles Lunden. Filed by Plaintiff
                                            Howard M. Ehrenberg) MOTION MARKED OFF AS MOOT, SO ORDERED BY
                                            /s/ ALAN S. TRUST. ENDORSED ON CALENDAR DATED 7/17/24. (THIS IS
                                            A TEXT ORDER, NO DOCUMENT IS ATTACHED.) (ymm) (Entered:
           07/17/2024                       07/22/2024)

                                   144      Letter re Allowing Zoom Testimony Filed by Jeffrey P Nolan on behalf of Howard
           07/18/2024                       M Ehrenberg (Nolan, Jeffrey) (Entered: 07/18/2024)

                                            Hearing Held; - (RE: related document(s)1 Complaint Filed by Plaintiff Howard M.
                                            Ehrenberg) Appearances: Jeff Nolan, Sanford Rosen, Eugene Sheiman, Howard
                                            Ehrenberg; Testimony taken of Craig Jacobson, Frank Lazzara, Max Mitchell,
                                            Edith Wong, Arvind Walia. POST TRIAL SUBMISSION OR SETTLEMENT
           07/24/2024                       LETTER BY AUGUST 5, 2024. (ymm) (Entered: 07/24/2024)

                                   145      Letter to the Court Pursuant to Order entered on July 25, 2024. Filed by Sanford P
                                            Rosen, Eugene Ronald Scheiman on behalf of Arvind Walia. (Scheiman, Eugene)
           08/05/2024                       Modified on 8/6/2024 to correct docket text. (ylr). (Entered: 08/05/2024)

                                   146      Letter to Honorable Alan S. Trust Pursuant to Trial Order Entered on July 24, 2024
                                            Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (Nolan, Jeffrey)
           08/05/2024                       (Entered: 08/05/2024)

                                   147      Letter to Honorable Alan S. Trust Pursuant to Trial Order Entered on July 24, 2024
                                            Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (Nolan, Jeffrey)
           08/05/2024                       (Entered: 08/05/2024)

                                   148      Statement Notice Of Errata And Lodging Of Corrected Exhibit A To Trial Brief Of
                                            Plaintiff, Howard M. Ehrenberg As Liquidating Trustee Of Orion Healthcorp, Inc.
                                            Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (RE: related
                                            document(s)131 Brief filed by Plaintiff Howard M Ehrenberg) (Nolan, Jeffrey)
           08/08/2024                       (Entered: 08/08/2024)

                                   149      Letter Providing Notice of Court Hearing Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg Hearing scheduled for 10/8/2024 at 02:00 PM at Courtroom
           09/10/2024                       960 (Judge Trust), CI, NY. (Nolan, Jeffrey) (Entered: 09/10/2024)

                                            Ruling Conference to be held on 10/8/2024 at 02:00 PM at Courtroom 960 (Judge
                                            Trust), CI, NY (RE: related document(s)1 Complaint by Howard M. Ehrenberg in
                                            his capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al against Arvind
                                            Walia, Niknim Management Inc.. Fee Amount $350. Nature(s) of Suit: (12
                                            (Recovery of money/property - 547 preference)), (13 (Recovery of money/property
                                            - 548 fraudulent transfer)), (14 (Recovery of money/property - other)). filed by
           09/10/2024                       Plaintiff Howard M Ehrenberg) (ymm) (Entered: 09/12/2024)

                                   150      Letter of Adjournment: Hearing rescheduled from October 8, 2024 at 2:00 p.m. to
                                            October 29, 2024 at 11:00 a.m. Filed by Jeffrey P Nolan on behalf of Howard M
           10/03/2024                       Ehrenberg (Nolan, Jeffrey) (Entered: 10/03/2024)

           10/08/2024                       Adjourned Without Hearing - Ruling Conference scheduled for 10/29/2024 at
                                            11:00 AM at Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s) 1
                                            Complaint by Howard M. Ehrenberg in his capacity as Liquidating Trustee of



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                                                             https://nyeb-ecf.sso.dcn/cgi-bin/DktRpt.pl?153490125892063-L_1_0-1
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                                            Orion Healthcorp, Inc., et al against Arvind Walia, Niknim Management Inc.. -
                                            Nature(s) of Suit: (12 (Recovery of money/property - 547 preference)), (13
                                            (Recovery of money/property - 548 fraudulent transfer)), (14 (Recovery of money/
                                            property - other)). (ymm) (Entered: 10/09/2024)

                                   151      Letter of Adjournment: Hearing rescheduled from October 29, 2024 at 11:00 a.m.
                                            to December 17, 2024 at 2:00 p.m. Filed by Jeffrey P Nolan on behalf of Howard
           10/28/2024                       M Ehrenberg (Nolan, Jeffrey) (Entered: 10/28/2024)

                                            Adjourned Without Hearing - Ruling Conference set for 12/17/2024 at 02:00 PM at
                                            Courtroom 960 (Judge Trust), CI, NY.(RE: related document(s)1 Complaint Filed
           10/29/2024                       by Plaintiff Howard M. Ehrenberg) (ymm) (Entered: 10/29/2024)

                                   152      Letter Providing Notice of Court Hearing Filed by Jeffrey P Nolan on behalf of
                                            Howard M Ehrenberg Hearing scheduled for 11/20/2024 at 10:00 AM at
           11/12/2024                       Courtroom 960 (Judge Trust), CI, NY. (Nolan, Jeffrey) (Entered: 11/12/2024)

                                            Hearing Held; - Appearances: Sanford P Rosen, Eugene Ronald Scheiman, Jeffrey
                                            Norlan. (RE: related document(s)1 Complaint Filed by Plaintiff Howard M.
                                            Ehrenberg) GRANTED JUDGMENT AS PER TERMS STATED ON THE
                                            RECORD - SUBMIT ORDER; IF THE PROPOSED ORDER IS NOT
                                            SUBMITTED OR SETTLED AS DIRECTED WITHIN 14 DAYS, THE MATTER
                                            MAY BE DEEMED ABANDONED PURSUANT TO E.D.N.Y. L.B.R. 9072-1.
           11/20/2024                       (ymm) (Entered: 11/20/2024)

                                   153      Order Granting and Denying in Part Judgment against Defendants Arvind Walia
                                            and Niknim Management Inc. Plaintiffs First Cause of Action to Avoid an
                                            Intentionally Fraudulent Transfer under 11 U.S.C. §§544 and 548(a)(1)(A) and
                                            N.Y. Debtor and Creditor Law §276, Second Cause of Action to Avoid a
                                            Constructively Fraudulent Transfer under 11 U.S.C. §544 and N.Y. Debtor and
                                            Creditor Law §§272-275, and §273-a, to avoid and recover the transfer in the
                                            amount of $1,520,000 and Fourth Cause of Action For Recovery of Property
                                            Pursuant to 11 U.S.C.§544 and N.Y. Debtor and Creditor Law is granted as to each
                                            causes of action. Defendants NIKNIM Management, Inc., and Arvind Walia,
                                            individually, are joint and severally liable for $1,520,000. Plaintiffs Fifth Cause of
                                            Action to Object to the Claim No. 10067, filed in the amount of $61,590, as filed
                                            by Arvind Walia, is granted and the claim disallowed pursuant to Bankruptcy Code
                                            section 502(d). Plaintiff is awarded plus pre- judgment interest in accordance with
                                            the applicable interest rate as to the Second Transfer as against Defendants Arvind
                                            Walia and NIKNIM Management Inc., jointly and individually. The Court retains
                                            jurisdiction over remaining matters related thereto including costs and issuance of
                                            judgment (RE: related document(s)1 Complaint). Signed on 12/6/2024 (dnb)
           12/06/2024                       (Entered: 12/06/2024)

                                   154      Transcript & Notice regarding the hearing held on 11/20/2024. Pursuant to the new
                                            policy adopted by the Judicial Conference, transcripts are available for inspection
                                            only at the Office of the Clerk or may be purchased from the court transcriber.
                                            [Please see the court's website for contact information for the Transcription Service
                                            Agency]. (RE: related document(s) 1 Complaint). Notice of Intent to Request
                                            Redaction Due By 12/23/2024. Redaction Request Due By 01/6/2025. Redacted
                                            Transcript Submission Due By 01/16/2025. TRANSCRIPT ACCESS WILL BE
                                            ELECTRONICALLY RESTRICTED THROUGH 03/17/2025 AND MAY BE
           12/16/2024                       VIEWED AT THE OFFICE OF THE CLERK. (E-Scribe) (Entered: 12/16/2024)




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                                   155      BNC Certificate of Mailing with Notice of Filing of Official Transcript (AP) Notice
           12/20/2024                       Date 12/20/2024. (Admin.) (Entered: 12/21/2024)

                                            Electronic Order from District Court RE: 24-cv-03330-GRB: ORDER
                                            DISMISSING CASE. Appellants have filed an appeal of (1) a grant of partial
                                            summary judgment in favor of appellee and (2) a denial of appellant's summary
                                            judgment motion by Judge Trust regarding an apparent fraudulent transaction.
                                            While appellants claim this is an appeal as of right of a final order, this is plainly
                                            not the case. Moreover, appellants fail to comply with the requisites for an
                                            interlocutory appeal. Thus, for the reasons set forth in Mercer v. Lee 24-CV-2862
                                            (GRB), DE 7, which is incorporated by reference herein, this appeal is denied
                                            without prejudice to renewal after the entry of a final decision by the Bankruptcy
                                            Court. The Clerk of the Court is directed to close the case. (RE: related
                                            document(s)99 Notice of Appeal filed by Defendant Niknim Management Inc.)
           03/20/2025                       (one) (Entered: 03/20/2025)

                                   156      DISTRICT COURTS CLERK'S JUDGMENT - ORDERED AND ADJUDGED
                                            that Appellants Arvind Walia and Niknim Management, Inc.'s appeal is denied
                                            without prejudice to renewal after the entry of a final decision by the Bankruptcy
                                            Court; and that this case is closed. (RE: related document(s)99 Notice of Appeal
           03/20/2025                       filed by Defendant Niknim Management Inc.) (one) (Entered: 03/20/2025)

                                   157      Judgment against Defendants Arvind Walia and Niknim Management Inc.
                                            ORDERED AND ADJUDGED that Plaintiff recover the following: Judgment is
                                            hereby entered against Defendants, Arvind Walia, and NIKNIM Management, Inc.,
                                            jointly and individually, and in favor of Plaintiff, Howard M Ehrenberg, the duly
                                            appointed Liquidating Trustee for Orion Healthcorp., Inc., in the amount of
                                            $1,520,000 in principal plus costs of suit of $350.00 and prejudgment interest,
                                            calculated from the date of the filing of the Complaint on March 13, 2020, to
                                            judgment, (1,831 days) calculated in accordance with New York State Law at 9%
                                            simple interest in the amount of $686,248.76, for a total judgment of
                                            $2,206,598.76.Post-judgment interest shall accrue and be payable by Defendants,
                                            Arvind Waliaand NIKNIM Management, Inc., jointly and individually at the
                                            prevailing federalrate pursuant to 28 U.S.C. § 1961(a) from the date of entry of this
                                            Judgment to the date the amount is paid in full (RE: related document(s)153
           04/03/2025                       Order). Signed on 4/3/2025 (dnb) (Entered: 04/04/2025)

                                   158      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           04/06/2025                       04/06/2025. (Admin.) (Entered: 04/07/2025)

                                   159      Notice of Appeal to District Court. Joint Notice of Appeal of Defendants Arvind
                                            Walia & Niknim Management Inc.. Fee Amount $298 Filed by Christine McCabe
                                            on behalf of Arvind Walia, Niknim Management Inc. (RE: related document(s)157
                                            Judgment). Appellant Designation due by 04/24/2025. Transmission of Designation
                                            to District Court Due by 05/12/2025. (Attachments: # 1 Order and Judgment)
           04/10/2025                       (McCabe, Christine) (Entered: 04/10/2025)

                                            Receipt of Notice of Appeal( 8-20-08049-ast) [appeal,ntcapl] ( 298.00) Filing Fee.
                                            Receipt number AXXXXXXXX. Fee amount 298.00. (re: Doc# 159) (U.S. Treasury)
           04/10/2025                       (Entered: 04/10/2025)

                                   160      Civil Cover Sheet Filed by Christine McCabe on behalf of Arvind Walia, Niknim
                                            Management Inc. (RE: related document(s)159 Notice of Appeal filed by
           04/10/2025                       Defendant Arvind Walia). (McCabe, Christine) (Entered: 04/10/2025)




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                                   161      Notice to Parties of Requirements, Deadlines (RE: related document(s)159 Notice
                                            of Appeal filed by Defendant Arvind Walia, Defendant Niknim Management Inc.)
           04/11/2025                       (one) (Entered: 04/11/2025)

                                   162      Transmittal of Notice of Appeal to District Court (RE: related document(s)159
                                            Notice of Appeal filed by Defendant Arvind Walia, Defendant Niknim
           04/11/2025                       Management Inc.) (Attachments: # 1 Docket Sheet) (one) (Entered: 04/11/2025)

                                   163      Notice of Docketing Record on Appeal to District Court. Civil Action Number: 25-
                                            cv-02032 District Court Judge Rachel P. Kovner assigned. (RE: related
                                            document(s)159 Notice of Appeal filed by Defendant Arvind Walia, Defendant
           04/11/2025                       Niknim Management Inc.) (one) (Entered: 04/11/2025)

                                   164      BNC Certificate of Mailing with Notice/Order Notice Date 04/13/2025. (Admin.)
           04/13/2025                       (Entered: 04/14/2025)

                                   165      Statement of Issues on Appeal,by Appellants Arvind Walia and Niknim
                                            Management, Inc. Filed by Christine McCabe on behalf of Arvind Walia (RE:
                                            related document(s)159 Notice of Appeal filed by Defendant Arvind Walia,
                                            Defendant Niknim Management Inc., 160 Civil Cover Sheet filed by Defendant
                                            Arvind Walia, Defendant Niknim Management Inc.). (McCabe, Christine)
           04/16/2025                       (Entered: 04/16/2025)

                                   166      Appellant Designation of Contents For Inclusion in Record On Appeal &
                                            Statement of Issues Filed by Christine McCabe on behalf of Arvind Walia (RE:
                                            related document(s)159 Notice of Appeal filed by Defendant Arvind Walia,
                                            Defendant Niknim Management Inc., 160 Civil Cover Sheet filed by Defendant
                                            Arvind Walia, Defendant Niknim Management Inc., 165 Statement of Issues on
                                            Appeal filed by Defendant Arvind Walia). Appellee designation due by
           04/16/2025                       04/30/2025. (McCabe, Christine) (Entered: 04/16/2025)

                                   167      BNC Certificate of Mailing with Application/Notice/Order Notice Date
           04/19/2025                       04/19/2025. (Admin.) (Entered: 04/20/2025)

                                   168      Cross Appeal . Fee Amount $298 Filed by Jeffrey P Nolan on behalf of Howard M
                                            Ehrenberg (RE: related document(s)159 Notice of Appeal filed by Defendant
                                            Arvind Walia, Defendant Niknim Management Inc.). Appellant Designation due by
                                            05/5/2025. (Attachments: # 1 Civil Cover Sheet)(Nolan, Jeffrey) (Entered:
           04/21/2025                       04/21/2025)




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